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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

 X CORP., a Nevada corporation,
               Plaintiff,
        vs.
 MEDIA MATTERS FOR AMERICA, a                      Case No. 4:23-cv-01175-O
 Washington, D.C. non-profit corporation,
 ERIC HANANOKI, and ANGELO
 CARUSONE,
               Defendants.



    MOTION TO COMPEL PRODUCTION OF DONOR-RELATED DOCUMENTS

       Plaintiff X Corp. (“X”) brings this motion to compel the production of donor-related

documents against Defendants Media Matters for America, Eric Hanonoki, and Angelo Carusone.

For the reasons stated in the accompanying brief in support, X requests that the Court issue an

order overruling Defendants’ objections to X’s Requests for Production Nos. 17, 18, 21 and 35,

which seek documents and communications concerning Defendants’ donors, and requiring

Defendants to promptly provide responsive documents to those requests for production.
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Dated: August 30, 2024                   Respectfully submitted,
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                            CERTIFICATE OF CONFERENCE
       I certify that the parties have conferred on multiple occasions, most recently on July 29,

2024, and August 2, 2024, regarding the issues raised in this motion to compel. Notwithstanding

those conferrals, there remain intractable grounds of disagreement necessitating this motion.

Defendants oppose this motion but agree with Plaintiff that this dispute is ripe for judicial

intervention.

                                            /s/ Christopher D. Hilton
                                           Christopher D. Hilton

                               CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2024, a copy of this document was served on all counsel

of record through the Court’s CM/ECF system in accordance with the Federal Rules of Civil

Procedure.

                                            /s/ Alexander M. Dvorscak
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